                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                                )
                                                         )       Case No. 1:15-cr-52-HSM-SKL
                                                         )
 v.                                                      )
                                                         )
 MARGARET REGAL                                          )

                                              ORDER

         Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the six count

 Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count One of

 the Indictment, that is of conspiracy to distribute and possess with intent to distribute a mixture and

 substance containing methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (3)

 adjudicate Defendant guilty of the lesser offense of the charge in Count One of the Indictment, that

 is of conspiracy to distribute and possess with intent to distribute a mixture and substance containing

 methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(C); (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

 custody until sentencing in this matter [Doc. 143]. Neither party filed a timely objection to the report

 and recommendation. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation [Doc. 143] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

         (1)     Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

                 is GRANTED;

         (2)     Defendant’s plea of guilty to the lesser offense of the charge in Count One of the




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             Indictment, that is of conspiracy to distribute and possess with intent to distribute a

             mixture and substance containing methamphetamine, in violation of 21 U.S.C.

             §§ 846 and 841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One of the Indictment, that is of conspiracy to distribute and possess with intent to

             distribute a mixture and substance containing methamphetamine, in violation of 21

             U.S.C. §§ 846 and 841(b)(1)(C);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on February 8, 2016 at 9:00 a.m. [EASTERN] before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                         /s/Harry S. Mattice, Jr.
                                                         HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE




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